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IN THE UNITED STATES DISTRICT COURT Jy _ 2 *Kang 4
WESTERN DISTRICT OF ARKANSAS OUG, 28 5 s
FORT SMITH DIVISION LS p ko Gy

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Pury, Clog G Cleny.

Case No. 2: Z20CQ 2 Goi . Ool -OdY

UNITED STATES OF AMERICA
VS.

EMMANUEL MIRANDA; ~Os\
ISRAEL MIRANDA-ZAPATA; ~ OOD
BRENDA GOLDEN DAY; ~ 003
ALEXIS TIRADO — so

21 U.S.C. § 841(a)(1)

21 U.S.C. § 841(b)(1)(A)(viii)
21 U.S.C. § 841(b)\(1)(B\viii)
21 U.S.C. § 846

INDICTMENT
The Grand Jury charges:

COUNT ONE

Beginning on or about an unknown date, but at least as early as January 1, 2019, and
continuing to on or about July 28, 2020, in the Western District of Arkansas, Fort Smith Division,
and elsewhere, the Defendants, EMMANUEL MIRANDA; ISRAEL MIRANDA-ZAPATA;
BRENDA GOLDEN DAY; and ALEXIS TIRADO, and others known and unknown to the
Grand Jury, did knowingly and intentionally combine, conspire, confederate and agree with each
other, and with others known and unknown to the Grand Jury to distribute more than five (5) grams
of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Section 841(a)(1); Title 21, United States
Code, Section 841(b)(1)(B)(viii); and Title 21, United States Code, Section 846.

COUNT TWO
On or about August 21, 2019, in the Western District of Arkansas, Fort Smith Division,

the Defendants, EMMANUEL MIRANDA and ALEXIS TIRADO, aided and abetted by each
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other and others known and unknown to the grand jury, knowingly and intentionally distributed
more than fifty (50) grams of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, § 841(a)(1); Title 21, United States Code,
§ 841(b)(1)(A)(vili); and Title 18 United States Code § 2.

COUNT THREE

On or about November 5, 2019 in the Western District of Arkansas, Fort Smith Division,
the Defendant, BRENDA GOLDEN DAY, knowingly and intentionally distributed more than
five (5) grams of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Section 841(a)(1) and Title 21, United
States Code, Section 841(b)(1)(B)(viii).

COUNT FOUR

On or about February 12, 2020, in the Western District of Arkansas, Fort Smith Division,
the Defendants, ISRAEL MIRANDA-ZAPATA and EMMANUEL MIRANDA, aided and
abetted by each other and others known and unknown to the grand jury, knowingly and
intentionally distributed more than fifty (50) grams of methamphetamine, a Schedule II controlled
substance.

AlJJ in violation of Title 21, United States Code, § 841(a)(1); Title 21, United States Code,
§ 841(b)(1)(A)(viii); and Title 18 United States Code § 2.

COUNT FIVE

On or about February 18, 2020 in the Western District of Arkansas, Fort Smith Division,

the Defendant, BRENDA GOLDEN DAY, knowingly and intentionally distributed more than

five (5) grams of methamphetamine, a Schedule II controlled substance.
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All in violation of Title 21, United States Code, Section 841(a)(1) and Title 21, United
States Code, Section 841(b)(1)(B)(viii).

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

 

The allegations contained in Counts One through Five of this Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 21,
United States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of an offense in
violation of Title 21, United States Code, Sections 841 and 846, the Defendants, EMMANUEL
MIRANDA; ISRAEL MIRANDA-ZAPATA; BRENDA GOLDEN DAY; and ALEXIS
TIRADO, shall forfeit to the United States of America any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as the result of such offense[s] and any property used,
or intended to be used, in any manner or part, to commit, or to facilitate the commission of, the
offense(s). The property to be forfeited includes, but is not limited to, the following:

a. A money judgment;
Moreover, if any property subject to forfeiture, as a result of any act or omission by the
Defendant(s):

(a) Cannot be located upon the exercise of due diligence;

(b) Has been transferred or sold to, or deposited with a third party;

(c) Has been placed beyond the jurisdiction of the court:

(d) Has been substantially diminished in value; or

(ec) Has been commingled with other property which cannot be subdivided without

difficulty;
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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p).

A True Bill. DAVID CLAY FOWLKES
ACTING UNITED STATES ATTORNEY

/s/ Grand Jury Foreperson By: HA)

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